






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. WR-75,025-01




PEDRO ROLLERO-SUARES, Relator

v.

DALLAS DISTRICT CLERK, Respondent




ON APPLICATION FOR A WRIT OF MANDAMUS
CAUSE NO. F06-88955-RW IN THE 363rd JUDICIAL DISTRICT COURT
FROM DALLAS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O R D E R


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an application for a writ of habeas corpus
in the 363rd Judicial District Court of Dallas County, that more than 35 days have elapsed, and that
the application has not yet been forwarded to this Court.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Dallas County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order which designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); or stating that
Relator has not filed an application for habeas corpus in Dallas County.  Should the response include
an order designating issues, proof of the date the district attorney’s office was served with the habeas
application shall also be submitted with the response.  This application for leave to file a writ of
mandamus shall be held in abeyance until the respondent has submitted the appropriate response. 
Such response shall be submitted within 30 days of the date of this order.


Filed: December 8, 2010
Do not publish&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;


